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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION

UNITED STATES OF AMERICA,                    CR 24-26-H-BMM
              Plaintiff,

    vs.
                                         PRELIMINARY ORDER OF
BRYANT NICHOLAS ESPINOZA,                FORFEITURE
              Defendant.


        THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture. Defendant Bryant Nicholas Espinoza appeared

before the Court on February 24, 2025, and entered a plea of guilty to count 1 of

the Indictment. Bryant Nicholas Espinoza’s plea provides a factual basis and cause

to issue an Order of Forfeiture, pursuant to 18 U.S.C. § 924(d).

        IT IS ORDERED:

        THAT Bryant Nicholas Espinoza’s interest in the following property is

forfeited to the United States in accordance with 18 U.S.C. § 924(d).

    •     Hi-Point, model C9, 9mm caliber pistol, Serial No. P 10038421;
    •     Ruger, model American, 7-08 caliber rifle, Serial No. 690920488;
    •     Marlin Firearms, model 917V, 17 caliber rifle, Serial No. 93622584; and
    •     Any associated ammunition and accessories, including:
           a. 8 rounds assorted 9mm caliber ammunition;
           b. 5 rounds assorted 7-08 caliber ammunition;



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         c. 8 rounds assorted 17 caliber ammunition;
         d. 293 rounds assorted caliber ammunition;
         e. 314 rounds assorted caliber ammunition; and
         f. 461 rounds assorted caliber ammunition.

      THAT the Bureau of Alcohol, Tobacco, Firearms and Explosives, or its

      designated sub-custodian, is directed to seize the property subject to

      forfeiture and further to make a return as provided by law.

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court’s Preliminary Order

and the United States’ intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 924(d), and to make its

return to this Court that such action has been completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of Forfeiture.

      DATED this 18th day of March 2025.




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